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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

  IN RE FROZEN POTATO PRODUCTS                    No. 1:24-cv-11801
  ANTITRUST LITIGATION                            Hon. Jeffrey I. Cummings

  Burgers Are Fun LLC,

                          Plaintiff,              Case No. 1:25-cv-01738
                                                  Hon. Georgia N. Alexakis
  v.

  McCain Foods USA, Inc., et al.,

                           Defendants.




DECLARATION OF STACEY P. SLAUGHTER IN SUPPORT OF UNOPPOSED
    LOCAL RULE 40.4 MOTION TO REASSIGN CASE AS RELATED

       I, Stacey P. Slaughter, declare:

       1.     I am a Partner with the firm Robins Kaplan LLP, counsel of record for

Plaintiff in Burgers Are Fun LLC v. McCain Foods USA, Inc., et al., No. 1:25-cv-01738

(N.D. Ill.) (“Burgers Are Fun”).

       2.     I am admitted pro hac vice in Burgers Are Fun.

       3.     I submit this declaration in support of the accompanying Unopposed Local

Rule 40.4 Motion to Reassign Case as Related.

       4.     I have personal knowledge of the facts in this declaration and could

competently testify to them if called as a witness.
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       5.     A true and correct copy of the Class Action Complaint in Burgers Are Fun

is attached as Exhibit 1.

       6.     A true and correct copy of the Class Action Complaint in Redner’s Markets

Inc. v. Lamb Weston Holdings, Inc., No. 1:24-cv-11801 (N.D. Ill.) (“Redner’s”) is

attached as Exhibit 2.

       7.     No Defendants have appeared in Burgers Are Fun.

       8.     Consistent with the Court’s Motion Procedures, defense counsel of record

in Redner’s do not oppose this motion.

       9.     My colleague, Caitlin E. Keiper, conferred with Defendants’ counsel via

email on February 25, 26, and 27. The motion is unopposed.

Dated: February 27, 2025                        Respectfully submitted,

                                                /s/ Stacey P. Slaughter
                                                Stacey P. Slaughter




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